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                         UNITED STATES DISTRICT COURT
                                       FOR THE                            2023 FEB 15 AH 9t !ii
                               DISTRICT OF VERMONT

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Preservation Burlington, Karyn Norwood,)
and Liisa Reimann,                     )
  Plaintiffs,                          )
~                                          )
Cathedral of the Immaculate Conception      )
Parish Charitable Trust and City of       )
Burlington,                         )
                                      )
  Defendants.                           )


                                     COMPLAINT
                                   Nature of Action
       1. This is a civil rights action under 42 U.S.C. §1983 to prevent the
deprivation of Plaintiffs' rights under the Establishment Clause of the First
Amendment. On January 17, 2023, Defendant City of Burlington issued a zoning
permit to the Defendant Cathedral of the Immaculate Conception Parish Charitable
Trust ("Trust") for the demolition of the former Catholic cathedral at 20 Pine Street.
The former cathedral ani:l its companion structures and plantings are landmarks of
modern architecture and landscape architecture.
       2. In issuing the demolition permit, the City did not apply the zoning
standards and regulations which govern zoning requests in the City's downtown
district. Although the City noted that the demolition request failed to meet such
standards, it stated that it was prohibited from applying them by 24 V.S.A. §4413.
Section 4413 exempts "churches and other places of worship, convents, and parish
houses" from such review.
       3. Plaintiffs seek a declaratory judgment that, by exempting religious uses
from zoning regulations which apply to secular uses, state law and the City of
Burlington impermissibly favor the former over the latter, in violation of the
Establishment Clause. Simply put, if the former cathedral were a theater or art
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gallery, it could not be torn down without review under the local zoning ordinance.
Plaintiffs also seek injunctive relief to prevent the demolition unless and until the
City grants a permit after reviewing the demolition request under the zoning
regulations which apply to secular uses.


                                      Jurisdiction
       3. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 42
U.S.C. § 1983, because the case presents a federal question. Venue lies in the District
of Vermont under 28 U.S.C. § 1391(b)(l) and (2), because Defendants are located
here andJhe acts complained of occurred here. Declaratory and injunctive relief are
available_under 28 U.S.C. § 2201 and 42 U.S.C. § 1983.


                                        Parties
       4. Plaintiff Preservation Burlington is a Vermont non-profit corporation with
a mission to preserve and protect the historic architecture and livability of
Burlington through education and advocacy.
       5. Plaintiff Karyn Norwood is a Burlington resident who currently serves on
the board of directors of Preservation Burlington. Norwood was one of a number of
Burlington residents who objected on the record to the Defendant Trust's zoning
application to demolish the former cathedral at 20 Pine Street when the matter was
heard before the Burlington Development Review Board ("DRB").
       6. Plaintiff Liisa Reimann is also a Burlington resident. She also objected on
the record to the Defendant Trust's zoning application to demolish the former
cathedral when the matter was
before the DRB.
       7. Defendant Cathedral of the Immaculate Conception Parish Charitable
Trust ("Trust") is the owner of the property at 20 Pine Street in Burlington, where
the former cathedral is located.
       8. Defendant City of Burlington is a municipality which, among other things,
reviews zoning applications and issues zoning permits through its Department of
Permitting & Inspections and Development Review Board ("DRB"). The Burlington


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DRB issued a zoning permit for the demolition of the former cathedral and related
structures in a written decision dated January 17, 2023.


                                   Factual Allegations
       Structure
       9. The former Cathedral of the Immaculate Conception is the premier
example of modern architecture in the City of Burlington. The former cathedral and
landscaping were completed in 1976, following the destruction by arson of an
earlier cathedral built in 1867. The landscaping was designed by the leading
landscape architect of post-World War II America, Dan Kiley, who was a Vermont
resident, while the cathedral and bell tower were designed by eminent New York
architect, Edward Larrabee Barnes.
       10. The former cathedral's architecture, featuring circular pews and a
central altar, breaks sharply with the nave-and-transept model which has
dominated church architecture since the Middle Ages. Reflecting the influence of
the Second Vatican Council, the interior lacks side chapels and large stained glass
windows, and it contains a minimum of statuary and ornamentation. The building
and landscape architecture have been acclaimed by both national publications and
noted contemporary architects.
       11. The Burlington DRB decision acknowledges that the former cathedral "is
a significant property within the city's downtown," noting that it was recommended
eligible for listing in the National Register of Historic Places by the City of Burlington
in 2012, and determined eligible for the State and National Registers of Historic
Places by the Vermont Division for Historic Preservation, the Vermont Agency of
Transportation, and the Federal Transit Administration in 2013. It is eligible for
listing under Criteria Consideration G of the federal guidelines (36 C.F.R. §60.4(g)),
which addresses properties of "exceptional importance" that are less than 50 years
old.
       Use
       12. The former c~thedral was used for worship services from 1976 to 2018.
The final Mass was celebrated on December 8, 2018, when the structure was


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formally decommissioned as a place of worship. Its altar, tabernacle lamp, and a
portion of the confessional have since been removed, precluding its use to celebrate
Mass. It has been fenced off and vacant for the last four years.
       13. Defendant Trust stated to the DRB that it has no planned use in mind for
the property following the demolition of the former cathedral and bell tower. On
information and belief, however, the property is under contract to be sold to
CityPlace Partners once the former cathedral is demolished. On information and
belief, CityPlace Partners plans to use the property as a staging area for its adjacent
CityPlace project.
       Zoning Permit
       14. Defendant Trust applied for a zoning permit to demolish the former
cathedral on or about October 27, 2022.
       15. On December 13, 2022, the Burlington Department of Permitting &
Inspections issued a staff memorandum concluding that the zoning request could
not be reviewed under Article 14 of the Burlington Comprehensive Development
O~dinance ("CDO"), due to 24 V.S.A. §4413. Article 14 of the CDO requires that
projects in downtown Burlington comply with the City's municipal plan, or that the
DRB grant "alternative compliance" where conformity is not possible or desirable
due to site constraints or other considerations.
       16. Following hearings on December 20, 2022, and January 11, 2023, the
Burlington DRB issued a written decision on January 17, 2023, granting the
demolition permit. Consistent with the Department's memorandum, the decision
stated that the zoning application could not be reviewed under Article 14 of the
CDO, because 24 V.S.A. §4413 exempts "churches and other places of worship" from
such review.


                                   Legal Contention
       17. Under the Establishment Clause of the First Amendment, a "government
preference for religion, as opposed to irreligion, is forbidden." City of Boerne v.
Flores, 521 U.S. 507,537 (1997) (Stevens, J., concurring) (invalidating federal
statute which prohibited local or state governments from enforcing neutral zoning


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laws which "substantially burden" a religious use unless they can show a compelling
governmental interest).
          18. By exempting religious uses from local zoning requirements which
secular property owners must comply with, 24 V.S.A. §4413 gives a preference to
religious uses which secular uses are denied, in violation of the Establishment
Clause.




                                            Relief
          Plaintiffs seek a judgment under 28 U.S.C. § 2201 and 42 U.S.C. § 1983
declaring that, insofar as· 24 V.S.A. § 4413 exempts religious institutions from local
zoning requirements which secular property owners must comply with, it violates
the Establishment Clause of the First Amendment. In addition, Plaintiffs seek an
order under 42 U.S.C. § 1983 enjoining Defendant Trust from demolishing the
former Cathedral of the Immaculate Conception building and/or landscape unless
and until the Burlington DRB issues a demolition permit following a determination
that the demolition complies with Article 14 of the Burlington CDO.
          Plaintiff also seeks an award of the costs of this action under 42 U.S.C. § 1988.



                                                      PLAINTIFFS




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